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                        UNITED STATES COURT OF APPEALS
                             FOR THE TENTH CIRCUIT

      ENTRY OF APPEARANCE AND CERTIFICATE OF INTERESTED
                           PARTIES

    United States


    v.                                                     Case No. 24-5133
    Oscar Stilley

                    ENTRY OF APPEARANCE (10th Cir. R. 46.1(A))
       In accordance with Tenth Circuit Rule 46.1, the undersigned attorney(s) hereby appear(s)
as counsel for:
the United States
______________________________________________________________________________
                                [Party or Parties] 1

______________________________________________________________________________

Appellee
____________________________________________________, in the above-captioned case(s).
       [Appellant/Petitioner or Appellee/Respondent]


Elissa Hart-Mahan                                    S. Robert Lyons
______________________________________               ______________________________________
Name of Counsel                                      Name of Counsel
s/ Elissa Hart-Mahan
______________________________________              s/ S. Robert Lyons
                                                    ______________________________________
Signature of Counsel                                 Signature of Counsel
P.O. Box 972, Washington, DC 20044
______________________________________
                                                     P.O. Box 972, Washington, DC 20044
                                                    ______________________________________
Mailing Address and Telephone Number                Mailing Address and Telephone Number
elissa.r.hart@usdoj.gov
______________________________________              samuel.r.lyons@usdoj.gov
                                                    _____________________________________
E-Mail Address                                       E-Mail Address




1
 Counsel must list each party represented. Do not use “et al.” or generic terms such as
“Plaintiffs.” Attach additional pages if necessary.
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      CERTIFICATE OF INTERESTED PARTIES (10th Cir. R. 46.1(D))



Pursuant to Tenth Circuit Rule 46.1(D), the undersigned certifies2 as follows:

    The following (attach additional pages if necessary) individuals and/or entities are not
       direct parties in this appeal but do have an interest in or relationship to the litigation
       and/or the outcome of the litigation. See 10th Cir. R. 46.1(D). In addition, attorneys not
       entering an appearance in this court, but who have appeared for a party in prior trial or
       administrative proceedings, are noted below.




✔ There are no such parties/attorneys, or any such parties/attorneys have already been
       disclosed to the court.


11/26/2024
_________________________
Date
s/ Elissa Hart-Mahan
_______________________________________
Signature




2
  Pursuant to Tenth Circuit Rule 46.1(D)(6), this certificate must be promptly updated if the
required information changes.
                                                2
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                                CERTIFICATE OF SERVICE

I hereby certify that:

        ✔
               All other parties to this litigation are either: (1) represented by attorneys; or
                (2) have consented to electronic service in this case; or

             On ____________________________
                    11/26/2024               I sent a copy of this Entry of Appearance
                             [date]
Form to:
______________________________________________________________________________


at____________________________________________________________________________,


the last known address/email address, by ____________________________________________.
                                                        [state method of service]




11/26/2024
_________________________
Date

s/ Elissa Hart-Mahan
_______________________________________
Signature




                                                   3
